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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )                   8:03CR552
                                            )
                    Plaintiff,              )
                                            )                  JUDGMENT
      vs.                                   )
                                            )
RAFAEL MADRID-OJEDA,                        )
                                            )
                    Defendant.              )

      In accordance with the Memorandum and Order filed on this date,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Amended

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody (“§ 2255 motion”) (Filing No. 120);

      2.     Upon initial review, the Court finds that summary dismissal of the Defendant's

§ 2255 motion is required;

      3.      The Clerk is directed to mail a copy of the Memorandum and Order and

Judgment to the Defendant at his last known address.


      DATED this 7th day of December, 2005.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
